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                         EXHIBIT "F"


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    1                                           NOTE: CHANGES MADE BY THE COURT
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    8
                                   UNITED STATES DISTRICT COURT
    9
                                  CENTRAL DISTRICT OF CALIFORNIA
   10
   11
      SECURITIES AND EXCHANGE                         CASE NO. CV 10-1689- JST(AJWx)
   12 COMMISSION,
                                                      ORDER GRANTING RECEIVER'S
   13                     Plaintiff,                  MOTION TO ESTABLISH CLAIMS
                                                      PROCEDURE AND BAR DATE FOR
   14            v.                                   FILING CLAIMS
   15 FRANCOIS E. DURMAZ(aka
      MAHMUT E. DURMAZ),ROBERT C.
   16 PRIBILSKI, USA RETIREMENT
      MANAGEMENT SERVICES (aka USA
   17 FINANCIAL MANAGEMENT
      SERVICES,INC.),
   18
                Defendants.
   19
           And
   20
      SIBEL INCE, MEHMET KARAKUS,
   21 MARLALI GAYRIMENKUL
      YATIRIMLARI MARLALI
   22 PROPERTY IN~IESTMENT
      COMPANY LLC, GULEN
   23 ENTERPRISES, INC.,
   24                      Relief Defendants.
   25
   26            The Motion of Stephen J. Donell, Permanent Receiver, to Establish a Claims
   27 Procedure and Bar Date ("Motion"), having been filed with this Court and having
   28 been duly noticed and served upon all interested parties, the Court having reviewed
        IDOCS:13326.7:1063559.1
                       ORDER GRANTING RECEIVER'S MOTION TO ESTABLISH CLAIM PROCEDURE

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    1 the Receiver's Motion, and good cause appearing therefore.
    2            1.       IT IS HEREBY ORDERED:
    3                      The claims procedure proposed by Stephen J. Donell, Permanent
    4 Receiver("Receiver") in the Motion is approved and the Receiver is authorized and
    5 directed to do the following:
    6                     (a)       Prepare claims forms and notices ofthe claims procedure in the
    7 form and style substantially as set forth in Exhibits "A" and "B" attached to the
    8 Motion;
    9                     (b)       To cause to be mailed by United States mail, postage prepaid, to
   10 all known investors and creditors of USA Retirement Management Services (a.k.a.
   11 USA Financial Management Services, Inc.) and all entities controlled by defendant
   12 Francois E. Durmaz and Robert C. Pribilski, including Marlali Property Investment
   13 Company,LLC and their subsidiaries and affiliates (collectively "USA")copies of
   14 the claim form and notice;
   15                     (c)       To cause to be published, once a week, for two consecutive
   16 weeks, in the Chicago Sun-Times and Los Angeles Daily Journal notice of the
   17 claims procedure in substantially the form set forth in Exhibit"C" attached to the
   18 Motion. Additionally, the Receiver shall post information regarding the claims
   19 procedure, along with claim forms available for downloading, on the Receiver's
   20 website at www.Iedreceiver.com;
   21                     (d)       Upon receipt of claims forms from claimants, to make a list of
   22 the claims he proposes to accept and ofthe claims he proposes to reject;
   23                     (e)       To serve upon those claimants whose claims he proposes to
   24 reject because of insufficient documentation or incorrect accounting, a notice of
   25 insufficient documentation or incorrect accounting. Such claimants shall have
   26 fifteen(15)calendar days from the mailing ofthe notice of insufficient
   27 documentation or incorrect accounting to provide the Receiver with further
   28 documentation to support their claim or a revised claim; and
        IDOCS:13326.7:1063559.1 IDOCS:13390.10:1061043.1   2
                      ORDER GRANTING RECEIVER'S MOTION TO ESTABLISH CLAIMS PROCEDURE

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    1                    (~         After the Receiver has reviewed all claims and made a
    2 determination as to which claims he will accept and which claims he will reject, in
    3 whole or in part, he shall serve upon those persons whose claims he proposes to
    4 reject, a notice of rejection, briefly stating the reasons for rejection of the claim.
    5            2.       THE COURT FURTHER ORDERS:
    6                     (a)       All creditors or other persons whose claims are rejected in whole
    7 or in part by the Receiver shall have twenty-one(21)days after the mailing ofthe
    8 notice of rejection to serve an objection to the Receiver's recommendation on the
    9 Receiver, who will assemble all such obligations, along with whatever reply the
   10 Receiver deems appropriate, in a single document which shall be filed with the
   11   Court.
   12                     (b)       The notices of rejection served by the Receiver shall contain a
   13 notice informing claimants of the deadline to object to the Receiver's
   14 recommendations. The Court will hear all objections to the Receiver's
   15 recommendations at a hearing on the Receiver's claims recommendations.
   16                     (c)       All persons with claims or demands against USA, whether due or
   17 not yet due, contingent, unliquidated, or sounding only in damages, shall make and
   18 present their claims, on the Court approved claim form, to the Receiver at the
   19 address and in the manner specified in said form and in the notice of claims
   20 procedure. All claims must be presented to the Receiver on or before ninety (90)
   21   days from the entry ofthis Order.
   22                     (d)       All persons failing to make and present claims and proof to the
   23 Receiver, on or before ninety (90)days from the entry of this Order, shall be forever
   24 barred from participating in any distribution ofthe assets ofthe receivership estate.
   25 ////
   26 ///
   27 ///
   28 ///
        IDOCS:13326.7:1063559.]IDOCS:13390.10:1061043.1
                      ORDER GRANTING RECEIVER'S MOTION TO ESTABLISH CLAIMS PROCEDURE

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    1                    (e)       The Receiver is authorized and directed to pay from the
    2 receivership estate all costs he may incur in printing or otherwise reproducing the
    3 claim forms and notices, mailing the claim forms and notices, and advertising the
    4 claims procedure.
    5
    6 DATED: September 28, 2010                          JOSEPHINE STATON TUCKER
    ~                                                    HON.JOSEPHINE STATON TUCKER
                                                         United States District Court Judge
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        IDOCS:13326.7:10635591IDOCS:13390.10:1061043.1    4
                     ORDER GRANTING RECEIVER'S MOTION TO ESTABLISH CLAIMS PROCEDURE

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